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                                                                                                  United States Bankruptcy Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                                           January 23, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                                           Nathan Ochsner, Clerk
                                  HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al., 1                                   Case No. 24-90533 (ARP)


                                       Debtors.                      (Jointly Administered)


                               STIPULATION AND AGREED ORDER
                                REGARDING THE YOUNG APPEAL

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) and

Deborah Young, as the Personal Representative of the Estate of Gwendolyn Young (“Young”) and

her attorneys Smolen & Roytman (“Young’s Attorneys,” and together with Young, the “Young

Parties,” and together with the Debtors, the “Parties”) hereby enter into this stipulation and agreed

order (this “Stipulation and Agreed Order”) as follows:

         WHEREAS, on May 13, 2013, Young brought suit against Correctional Healthcare

Companies, Inc. (n/k/a Debtor Wellpath, LLC) and other defendants (together with the Debtor,

collectively, the “Defendants”) in Young et al. v. Glanz et al., Case No. 13-CV-315, in the U.S.

District Court for the Northern District of Oklahoma (the “Lawsuit”);

         WHEREAS, in the Lawsuit, Young asserts certain claims and causes of action against the

Defendants related to alleged violations of Gwendolyn Young’s constitutional right to adequate

medical care;




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    A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
    Debtors’ claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address for these
    chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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       WHEREAS, the Defendants dispute any and all liability with regard to any of the damages

alleged to have been suffered by Young;

       WHEREAS, on March 26, 2024, the Young Parties appealed certain findings of

misconduct by Young’s Attorneys to the Tenth Circuit Court of Appeals in Young v. Correctional

Healthcare Companies, Inc., Case No. 24-5033 (the “Appeal”);

       WHEREAS, on November 11, 2024 (the “Petition Date”), the Debtors filed voluntary

petitions for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”);

       WHEREAS, on November 12, 2024, the Debtors filed the Debtors’ Emergency Motion for

Entry of Interim and Final Orders to Enforce the Automatic Stay or in the Alternative Extend the

Automatic Stay to Non-Debtor Defendants [Docket No. 17] (the “Stay Extension Motion”) seeking

extension of the automatic stay imposed by section 362(a) of the Bankruptcy Code to Non-Debtor

Defendants (as defined in the Stay Extension Motion), and the Court entered the Amended Interim

Order Enforcing the Automatic Stay [Docket No. 69] (the “Stay Extension Order”) staying all

Lawsuits (as defined in the Stay Extension Motion) in their entirety, including claims against the

Non-Debtor Defendants, on an interim basis;

       WHEREAS, on December 2, 2024, the Young Parties filed Deborah Young’s Objection to

Final Order/Automatic Stay [Docket No. 250] (the “Stay Objection”) arguing the Stay Extension

Motion and Stay Extension Order should not apply to the Appeal;

       WHEREAS, on January 14, 2025, the Court entered the Stipulated and Agreed Amended

Order (I) Enforcing the Automatic Stay on a Final Basis with Respect to Certain Actions,

(II) Enforcing the Automatic Stay on an Interim Basis with Respect to Certain Actions,

(III) Extending the Automatic Stay on an Interim Basis to Certain Actions Against Non-Debtors,



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(IV) Setting a Final Hearing for the Interim Relief Granted Herein, and (V) Granting Related

Relief [Docket No. 962].

       NOW, THEREFORE, IT IS STIPULATED AND AGREED:

       1.      The Parties agree that the automatic stay imposed by section 362(a) of the

Bankruptcy Code is modified to allow the Appeal to proceed solely with respect to oral argument

and a final decision at the Tenth Circuit Court of Appeals.

       2.      For the avoidance of doubt, the automatic stay shall not be modified as to any other

claims or causes of action by the Young Parties against the Debtors, including any claims and

causes of action or proceedings in the Lawsuit.

       3.      Entry of this Stipulation and Agreed Order shall resolve the Stay Objection, and

any other objections to the Stay Extension Motion shall be deemed overruled.

       4.      This Court retains exclusive jurisdiction over any matter arising from or related to

the implementation, interpretation, and enforcement of this Stipulation and Agreed Order.

Dated: __________, 2025
Signed: January 23, 2025
Houston, Texas

                                                     _____________________________
                                             UNITED STATES   BANKRUPTCY
                                                     Alfredo R Pérez          JUDGE
                                                     United States Bankruptcy Judge




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STIPULATED AND AGREED TO THIS 22ND DAY OF JANUARY, 2025:

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